          Case 1:03-cr-05066-AWI-BAM Document 57 Filed 09/09/16 Page 1 of 3


1
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5
     Attorney for
6    OCTAVIO GALLEGOS-VASQUEZ

7
                            UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                 No.0972 1:03CR05066-002AWI
10                                                0972 1:13CR00218-004AWI
               Plaintiff,                      STIPULATION TO CONTINUE
11                                             SENTENCING
                     v.
12                                             CURRENT SENTENCING HEARING:
     OCTAVIO GALLEGOS-VASQUEZ,                 9-12-2016 10:00 a.m.
13
               Defendant.                      SENTENCING HEARING:
14                                             11-21-16 10:00 a.m.

15        Arturo Hernandez-M, Defense Attorney for Defendant OCTAVIO
16   GALLEGOS-VASQUEZ and Plaintiff United States of America, by and
17   Through its counsel of record, the United States Attorney for the
18   Eastern District of California and Assistant United States Attorney
19   Kathleen Servatius, hereby stipulate as follows:
20        1.    Arturo Hernandez-M, Defense counsel for OCTAVIO GALLEGOS
21   VASQUEZ, hereby requests to continue this sentencing for six weeks
22   because counsel is out of state in a federal matter in Wichita
23   Kansas in US vs. Bencomo and in Federal court in Saint Louis
24   Missouri US vs. Miguel Angel Torrez.
25        2.    By this stipulation, defendant requests that the
26   sentencing hearing be continued from September 12, 2016, at 10:00
27   a.m., to November 21, 2016 at 10:00 a.m., or any date thereafter
28   convenient to the Court.     This continuance will allow defense
          Case 1:03-cr-05066-AWI-BAM Document 57 Filed 09/09/16 Page 2 of 3


1    counsel to finalize his position papers and prepare for the

2    sentencing.

3          3.    The government does not oppose defendants’ request for a

4    continuance.

5          IT IS SO STIPULATED.

6    Dated: September 8,2016

7                                       /s/   Kathleen Servatius
                                        KATHLEEN SERVATIUS
8                                       Assistant United States Attorneys
                                        Attorneys for Plaintiff
9                                       UNITED STATES OF AMERICA

10
     Dated: September 8,2016            /s/ Arturo Hernandez-M
11                                      ARTURO HERNANDEZ-M
                                        Attorney for Defendant
12                                      OCTAVIO GALLEGOS-VASQUEZ
13

14

15

16                                     Order

17   FOR GOOD CAUSE SHOWN, as set forth in the parties’ stipulation and

18   after review of the motion of Arturo Hernandez-M to Continue

19   Sentencing on behalf of his Client, OCTAVIO GALLEGOS VASQUEZ, said

20   motion is hereby granted.

21         IT IS SO ORDERED that the sentencing in this matter be

22   continued from September 12, 2016 at 10:00 a.m. to November 21, 2016

23   at 10:00 a.m.

24
     IT IS SO ORDERED.
25
     Dated: September 9, 2016
26                                    SENIOR DISTRICT JUDGE
27

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     Case 1:03-cr-05066-AWI-BAM Document 57 Filed 09/09/16 Page 3 of 3


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